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                  THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION



IN RE:


CASES ASSIGNED TO
JUDGE VICTORIA M. CALVERT




                         STANDING ORDER:
                     GUIDELINES TO PARTIES AND
                COUNSEL IN CASES PROCEEDING BEFORE
                THE HONORABLE VICTORIA M. CALVERT

      This case has been assigned to Judge Victoria M. Calvert. These guidelines

are furnished to inform the parties and their counsel of the Court’s policies,

procedures, and practice, and to promote the just, speedy, and economical

disposition of cases. This order, in combination with the Local Rules of this Court

and the Federal Rules of Civil Procedure, shall govern this case.
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I.       GENERAL MATTERS

         Attorneys and pro se litigants appearing in this court in civil litigation must

observe three sets of rules:

      1. The Federal Rules of Civil Procedure.         These rules are available at

         http://www.uscourts.gov/rules-policies.

      2. The local rules of the United States District Court for the Northern District

         of Georgia (“LR, NDGa.”) and Instructions Regarding Pretrial Proceedings.

         The local rules of this Court are available for downloading at

         http://www.gand.uscourts.gov/local-rules. Various forms and the Court’s

         pretrial       instruction       package         are        available        at

         http://www.gand.uscourts.gov/rules-standing-orders-forms.

      3. The rules and practices of the district judge, and magistrate judge if

         appropriate, assigned to your case.

II.      CASE ADMINISTRATION

a. Contacting Chambers

         Velma Shanks, our Courtroom Deputy Clerk, is your principal point of

contact on matters related to this case. Where possible, communications with Ms.

Shanks should be via email (Velma_Shanks@gand.uscourts.gov). Her telephone

number is 404-215-1394. Please note that Ms. Shanks is often in the courtroom, so




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telephone messages may not be returned for 24 hours. Any mail, couriered, or

hand-delivered communications should be addressed as follows:

                         Velma Shanks
                         Courtroom Deputy Clerk
                         2125 United States Courthouse
                         75 Ted Turner Drive, SW
                         Atlanta, GA 30303-3309

If necessary, counsel or parties may also contact Chambers by telephone (404-215-

1390). Neither the parties nor their counsel should discuss the merits of the case

with Ms. Shanks or any of the Court’s law clerks.

b. Courtesy Copies of Documents

      Parties frequently forward copies of motions or other filings directly to

chambers for the Court’s convenience. Courtesy copies are not required except

for motions for summary judgment or motions with voluminous exhibits.

Courtesy paper copies of motions for summary judgments, including all exhibits,

or motions with voluminous exhibits, may be either hand-delivered to chambers

in Room 2125 or submitted via regular mail to attention of the Ms. Shanks at the

address provided above. Courtesy copies of motions and exhibits should be

printed double-sided directly from the docket on the CM/ECF system with the

docket header across the top of the document so that the case number, docket

number, and page numbers appear on each page. Courtesy copies should be

assembled in a tabbed, indexed three-ring binder.

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c. Attorneys

       i.   Admission of Counsel Pro Hac Vice

      In the event that lead counsel had been admitted pro hac vice, local counsel

is required to be familiar with the case, and may be called upon to attend hearings

or participate in conferences on behalf of the lead counsel.

      ii.   Electronic Registration for All Counsel

      All counsel — including counsel admitted pro hac vice — must register and

participate in the Court’s electronic filing system, CM/ECF (See this Court’s

Standing Order No. 04-01).

     iii.   Leaves of Absence

      Counsel are encouraged to review their calendars and submit as early as

possible any requests for leave of absence. Leave requests shall comply with Local

Rule 83.1, NDGa. All requests for, or notices of leaves of absence, must be

electronically filed. Counsel should not mail or hand-deliver paper copies to

chambers.

     iv.    Withdrawal or Substitution of Counsel

      It is counsel’s responsibility to keep the Court informed of any change of its

status. Counsel should comply with Local Rule 83.1, NDGa, when substituting or

withdrawing as counsel. Counsel who do not comply with this Local Rule will

not be allowed to withdraw from the case until compliance is achieved. It is also


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possible that counsel will not be allowed to withdraw depending on the status of

the case and the particular reasons for wanting to withdraw.

      v.     Corporate Representation

      Corporate entities must be represented in court by an attorney. A corporate

officer may not represent the corporation unless that officer is also licensed to

practice law in the state of Georgia. LR 83.1, NDGa. Failure to comply with this

rule can result in dismissal of a corporation’s complaint or default being entered

against the corporation.

d. Pro Se Litigants

      Parties proceeding pro se (without an attorney) must comply with the

Federal Rules of Civil Procedure (“Fed. R. Civ. P.”), as well as the Local Rules of

the United States District Court for the Northern District of Georgia. Pro se parties

may obtain certain basic materials and handouts from the Office of the Clerk of

Court located on the 22nd Floor of the United States Courthouse, 75 Ted Turner

Drive, SW, Atlanta, Georgia. Many documents are also available on the Court’s

website at www.gand.uscourts.gov. Pro se litigants may also utilize the law library

located on the 23rd floor of the United States Courthouse at the above provided

address.

      Counsel and parties representing themselves are prohibited from engaging

in ex parte communications with the Court or the Court’s staff.            “Ex parte

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communications” mean any form of contact with the Court outside the presence

of the opposing party or opposing party’s counsel. This includes, but is not limited

to, telephone calls, written correspondence, or in-person contact, by one party or

party’s counsel. If counsel or a pro se litigant seeks court action, the appropriate

procedure is to put the request in writing, in the form of a motion, file the motion

with the Clerk’s office and serve the opposing party or party’s counsel. See Fed.

R. Civ. P. 5; LR 5.1 and 5.2, NDGa.; see also LR 7.4, NDGa. (“Communications to

judges seeking a ruling or order, including an extension of time, shall be by motion

and not by letter. A letter seeking such action ordinarily will not be treated as a

motion. Counsel [and pro se litigants] shall not provide the Court with copies of

correspondence among themselves relating to matters in dispute.”).

      The Clerk of Court and the U.S. Marshals Service will not serve documents

filed by either party, unless expressly directed to do so by the Court. The Court

will only direct the Clerk or the U.S. Marshals Service to serve in the following

instances: (1) in the event a plaintiff is granted leave to proceed in forma pauperis

(without prepayment of fees), the Court will direct the Clerk to prepare (and

deliver to the U.S. Marshals Service if necessary) a service package containing the

case initiating document(s); or (2) in exceptional circumstances under the Court’s

discretion. The National Association of Professional Process Servers provides a



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search engine for locating process servers across the nation at its website

(www.napps.org).

      A pro se plaintiff is required to provide the Clerk with an original of any

further pleadings or other papers filed with the Court after the complaint and is

further required to serve upon the defendant(s) or counsel for the defendant(s), 1

by mail or by hand delivery under Rule 5 of the Federal Rules of Civil Procedure,

a copy of every additional pleading or other paper described in Rule 5 of the

Federal Rules of Civil Procedure.

      Each pleading or paper described in Rule 5, including pleadings, papers

related to discovery required to be served, motions, notices and similar papers,

shall include a certificate stating the date on which an accurate copy of that

pleading or document was mailed or hand-delivered to the defendant(s) or their

counsel. This Court shall disregard any papers submitted which have not been

properly filed with the Clerk, or which do not include a certificate of service. Pro

se parties are also advised that, under Local Rule 7, NDGa, “PLEADINGS

ALLOWED; FORM OF MOTIONS,” if the deadline for a response to a motion

passes without a response being filed, the motion is treated as unopposed. See LR

7.1B, NDGa.     Furthermore, under Local Rule 56.1, NDGa, the failure by a


1Once counsel for a defendant has appeared in the case, it is not necessary to serve
the defendant individually; service on counsel is sufficient.
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respondent to a motion for summary judgment to contest the movant’s statement

of material facts will be taken as an admission of those facts not objected to in

respondent’s statement.

       Pro se parties are further required to keep the Court advised of their current

address at all times during the pendency of the lawsuit. Local Rule 83.1D(3),

NDGa provides that counsel and parties appearing pro se have, in all cases, a duty

to notify the Clerk’s Office by letter of any change in address and/or telephone

number. Per this rule, “a failure to keep the clerk’s office so informed which causes

a delay or otherwise adversely affects the management of a civil case shall

constitute grounds for dismissal without prejudice or entry of a judgment by

default.” Pro se parties are encouraged to provide the opposing party/counsel

with an email address for purposes of communicating regarding the case and

serving copies of pleadings filed and served via regular mail. If a pro se party

provides an email address, opposing counsel shall serve copies of all pleadings via

email and regular mail. Pro se parties are advised, however, that the Court serves

via paper only and not via email.

III.   CASE MANAGEMENT

a. Extensions of Time

       The Court, along with counsel for the parties, is responsible for processing

cases toward prompt and just resolutions. To that end, the Court seeks to set

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reasonable but firm deadlines. Motions for extension, whether joint, unopposed,

or designated as consent, will not be granted as a matter of course. Parties seeking

an extension should explain with specificity the unanticipated or unforeseen

circumstances necessitating the extension and should set forth a timetable for the

completion of the tasks for which the extension is sought. Parties should indicate

whether opposing counsel consents to the extension. A proposed order should be

filed along with the motion via CM/ECF. If such a motion is filed less than three

days prior to the deadline the parties seek to extend, the parties should promptly

alert Chambers to the filing via email to Ms. Shanks.

b. Conferences

      Scheduling, discovery, pre-trial, and settlement conferences promote the

speedy, just, and efficient resolution of cases. Therefore, the Court encourages the

parties to request a conference with the Court when counsel believes that a

conference will be helpful and counsel has specific goals and an agenda for the

conference. Conferences may be requested by contacting Ms. Shanks via email or

telephone.

c. Early Planning Conference

      Local Rule 16.1 provides that, prior to filing the Joint Preliminary Report

and Discovery Plan, lead counsel for all parties are required to confer in an effort

to settle the case, discuss discovery, limit issues, and discuss other matters

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addressed in the Joint Preliminary Report and Discovery Plan. LR 16.1, NDGa.

This Early Planning Conference may be conducted by lead counsel by video or

telephone. The parties may agree to extend the date by which the Rule 26(f)

Conference is completed; however, extensions for filing the Joint Preliminary

Report and Discovery Plan must be requested by motion.

d. Discovery

      Initial disclosures should be as complete as possible based upon information

reasonably available. Responses may not be reserved for later supplementation.

       i.    General Principles of Discovery

      Counsel and pro se litigants should be guided by courtesy, candor and

common sense, and should conform to the Federal Rules of Civil Procedure, the

Local Rules and applicable orders in conducting discovery. In particular, counsel

and pro se litigants should have in mind the restrictions on the scope of discovery

stated in Fed. R. Civ. P. 26(b) and the good faith obligations implicit in Rule 26(g).

Direct and informal communication between counsel is encouraged to facilitate

discovery and resolve disputes.

      ii.    Discovery Responses: Boilerplate and General Objections

      Boilerplate objections in response to discovery requests are strictly

prohibited. Parties should not carelessly invoke the usual litany of rote objections,

i.e., attorney-client privilege, work-product immunity from discovery, overly

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broad/unduly burdensome, irrelevant, not reasonably calculated to lead to the

discovery of admissible evidence.

      Moreover, general objections are prohibited, i.e., a party shall not include in

its response to a discovery request a “Preamble” or a “General Objections” section

stating that the party objects to the discovery request “to the extent that” it violates

some rule pertaining to discovery, e.g., the attorney-client privilege, the work

product immunity from discovery, the requirement that discovery requests be

reasonably calculated to lead to the discovery of admissible evidence, and the

prohibition against discovery requests that are vague, ambiguous, overly broad,

or unduly burdensome. Instead, each individual discovery request must be met

with every specific objection thereto – but only those objections that actually apply

to that particular request. Otherwise, it is impossible for the Court or the party

upon whom the discovery response is served to know exactly what objections

have been asserted to each individual request. All such general objections shall be

disregarded by the Court.

      Finally, a party who objects to a discovery request but then responds to the

request must indicate whether the response is complete, i.e., whether additional

information or documents would have been provided but for the objection(s). For

example, in response to an interrogatory, a party is not permitted to raise



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objections and then state, “Subject to these objections and without waiving them,

the response is as follows . . .” unless the party expressly indicates whether

additional information would have been included in the response but for the

objection(s). This requirement is now included in Fed. R. Civ. P. 34(b)(2)(C).

     iii.    Interrogatories

      Whenever possible, counsel should try to exchange information informally.

The results of such exchanges, to the extent relevant, may then be made of record

by requests for admission.

      The parties are expected to observe the limitations regarding the number

and scope of interrogatories as stated in Fed. R. Civ. P. 26(b) and 33. Counsel’s or

a pro se litigant’s signature on the interrogatories constitutes a certification of

compliance    with     those   limitations.       Interrogatories   should   be   brief,

straightforward, neutral, particularized, and capable of being understood by

jurors when read in conjunction with the answer. Ordinarily, they should be

limited to requesting objective facts, such as, the identification of persons or

documents,    dates,    places,   transactions,    and   amounts.      Argumentative

interrogatories, attempts to cross-examine, and multiple repetitive interrogatories

are objectionable.

      Fed. R. Civ. P. 33(b) requires the respondent to provide separate written

answers to each interrogatory unless it is objected to. If an objection is made, the

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reason(s) for the objection shall be stated and the interrogatory is to be answered

to the extent it is not objectionable. When in doubt about the meaning of an

interrogatory, give it a reasonable interpretation (which may be specified in the

response) and answer it so as to provide rather than deny information. Generally,

the responding party is required to produce information only in the form in which

it is maintained or is available. If an answer is made by reference to a document,

attach it or identify it and make it available for inspection. (See subsection iv.

below).   Generalized cross-references, such as to a deposition, are not an

acceptable answer.

      The parties are directed to consult Rules 26(b) and 33(b)-(d) about the

permissible scope of discovery and objections. Counsel’s or a pro se litigant’s

signature on the answer constitutes a certification of compliance with the

requirements of Fed. R. Civ. P. 26(g).

      If an objection is based on privilege, the claim of privilege must be

supported by a statement of particulars sufficient to enable the Court to assess its

validity. In the case of a document, such a statement should specify the privilege

relied on and include the date, title, description, subject, and purpose of the

document; the name and position of the author; and the addresses of other

recipients. In the case of a communication, the statement should include the



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privilege relied on; the date, place, subject, and purpose of the communication;

and the names and positions of all persons present. See Fed. R. Civ. P. 26(b)(5).

     iv.     Requests for Production or Inspection

      Please consult Fed. R. Civ. P. 26(b) and 34 about the permissible scope of

discovery and objections. To the extent possible, requests should specify with

particularity the title and description of documents or records requested.

(Information needed for specification can often be obtained by informal discovery

or by deposition or by interrogatories, if necessary.) The certification requirement

of Fed. R. Civ. P. 26(g) applies.

      When responding to requests, materials (including electronically stored

information), should be produced in accordance with Fed. R. Civ. P. 34(b)(2)(E).

All documents should be Bates-numbered or labeled with a unique identifier on

each page. Documents should be produced either with labels corresponding to

the categories in the specific requests to which they respond or in a format where

it is clear which document is responsive to each particular request. Opening a

warehouse for inspection by the requesting party, burying the responsive

documents in a mass of materials, and similar procedures do not meet the good

faith requirements of the rules. The certification procedure of Fed. R. Civ. P. 26(g)

is applicable.



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      v.     Requests for Admission

      Requests for admission are an economical and efficient means of making a

record of informal exchanges of information, stipulations, and matters subject to

judicial notice, and of narrowing issues. Each request should be brief, clear,

simple, addressed to a single point and stated in neutral, non-argumentative

words. Requests ordinarily should deal with only objective facts. They may be

combined with interrogatories to ask for the factual basis of a claim or a denial.

The attorney’s or pro se litigant’s signature certifies compliance with Fed. R. Civ.

P. 26(g). Fed. R. Civ. P. 36(a)(4) requires that a response shall specifically deny a

matter or set forth in detail the reasons why the party cannot admit or deny. A

denial shall fairly meet the substance of the request, and when good faith requires,

a party shall specify so much as is true and qualify or deny the remainder. The

responding party has a duty to make reasonable inquiry before responding. The

certification requirement of Fed. R. Civ. P. 26(g) applies.

     vi.     Depositions

      Barring extraordinary circumstances, opposing counsel and pro se litigants

should be consulted, and the convenience of counsel, witnesses, and the parties

accommodated, before a deposition is noticed. Concurrent depositions are not

permitted in the absence of stipulation or order.




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      When counsel enter (or a party enters) into stipulations at the beginning of

a deposition, the terms of the stipulation should be fully stated on the record of

the deposition.

      Questions should be brief, clear, and simple. A deposition should not be

used to harass or intimidate a witness.         Normally, except in the case of

impeachment, a witness should be shown a document before being questioned

about it.

      Under Fed. R. Civ. P. 30(c)(2), objections to the manner of taking the

deposition, to the evidence, or to the conduct of a party shall be noted on the record

but the evidence objected to shall be taken subject to the objection. In the absence

of a good faith claim of privilege, instructions not to answer are rarely justified

and may lead to sanctions under Fed. R. Civ. P. 37. Speaking objections and other

tactics for coaching a witness during the deposition are not permissible. If counsel

or a pro se litigant believes that a motion to terminate or limit the examination

under Fed. R. Civ. P. 30(d) would be warranted, counsel and/or the pro se litigant

should promptly initiate a conference call to the Court with opposing counsel to

attempt to resolve the problem.




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      Fed. R. Civ. P. 26(b)(4) should be consulted regarding expert disclosures.

Experts who are prospective witnesses are normally produced for deposition by

the opposing party as a matter of course.

      The parties are expected to observe the limitations on depositions specified

in Fed. R. Civ. P. 26(b) and 30 and, in particular, to avoid unnecessary depositions.

      The Court will not permit the taking of depositions for the preservation of

testimony after the close of discovery, absent a good faith reason to do so. A party

must request the Court’s permission to conduct such a deposition.

      The Court is usually available by telephone to resolve objections and

disputes that arise during depositions. Counsel should not hesitate to call the

Court (404-215-1390) if a bona fide dispute arises during a deposition that the

parties cannot resolve despite a good-faith effort to do so.

    vii.     Discovery Requests and Extensions of the Discovery Period

      All discovery must be served early enough so that the responses thereto

are due on or before the last day of the discovery period. Requests for extension

of the discovery period or deadlines within the discovery period must be made in

accordance with Local Rule 26.2B, NDGa. All requests for extensions of the

discovery period must be made via motion and must state: (1) the original (and if

applicable, current) date from which the extension is being sought; (2) the number

of previous requests for extensions, if any; (3) whether these previous requests

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were granted or denied; and (4) whether the adversary consents, and if not, the

reasons given by the adversary for refusing to consent. An agreed upon or consent

motion to extend the discovery period or deadlines therein should be clearly

designated as a consent motion. Motions must be filed prior to the expiration of

the existing discovery period. The Court will not enforce the private agreements

between the parties and/or their counsel to conduct discovery beyond conclusion

of the discovery period. The Court does not allow evidence at trial which was

requested and not revealed during the discovery period.

e. Discovery Disputes

      Parties are required to confer in good faith before bringing discovery

disputes to the attention of the Court. The duty to confer is not satisfied by

sending a written document (e.g., email or letter) to the opposing party, unless

repeated attempts to confer by telephone, video, or in person are unsuccessful.

      The filing of discovery-related motions (except for unopposed, consent, or

joint motions to extend the discovery period) is prohibited. This prohibition

includes motions for discovery-related sanctions. Instead, the party seeking Court

intervention must email Ms. Shanks and attach a statement outlining its position

and requesting a conference with the Court. All parties must be copied on such

emails. The statement shall not exceed 500 words regardless of the number of

issues presented. The party initiating the request for a discovery conference should

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attach, as an exhibit to its statement, an excerpt of the relevant discovery request

and any responses and objections that are the subject of the dispute. The opposing

party or parties may provide a responding statement to the Court that does not

exceed 500 words. In the discretion of the Court, statements submitted by the

parties may be filed on the docket. If the matter is time-sensitive, the movant

should make that clear in the email to Ms. Shanks.

      After receipt of the parties’ submissions, Chambers will either schedule a

conference call or issue an order resolving the dispute. The conference will be

recorded by a court reporter.

      If any party has a dispute with a non-party (e.g., regarding a subpoena), the

party and the non-party must follow these instructions, and the party must

promptly inform the non-party of this discovery-dispute policy. If the non-party

requires the Court’s involvement in resolving the dispute, it should not file a

motion, but rather, should follow the procedure detailed in the preceding

paragraphs.

f. Confidentiality Agreements, Protective Orders, and Motions to Seal

      i.      Legal Standards Governing Public Access to Judicial Proceedings

      The Court eschews the excess use of consent protective confidentiality

orders that allow counsel to designate documents, tangible things, and

information as “Confidential” and/or “Confidential—For Attorney’s Eyes Only.”

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While the Court recognizes the legitimacy of such orders in some cases, the Court’s

experience is that such orders are used—and abused—more often than truly

necessary. The Court is aware that the parties will at times agree to designate

documents as “confidential.” However, the Court will not approve consent

protective orders that conflict with the Court’s view on the sealing of materials.

      As a guide to counsel, the Court notes that documents, tangible things, and

information ordinarily are not truly confidential unless they constitute either (1) a

“trade secret,” as defined by Section 1(4) of the Uniform Trade Secrets Act, or for

cases applying Georgia law, O.C.G.A. § 10-1-761(4); (2) personal identifying

information, such as a Social Security number; or (3) personal health information

protected by the Health Insurance Portability and Accountability Act. Counsel

should also be aware that the Court is not hesitant to sanction a party and/or

counsel for abusing a protective confidentiality order by too readily designating

documents, tangible things, and/or information as “Confidential” and/or

“Confidential—For Attorney’s Eyes Only.”

      If the parties find that a confidentiality agreement or protective order

is necessary, the parties must follow the practice for filing and sealing documents

as described in the Court’s Procedure for Electronic Filing Under Seal in Civil

Cases, and must include this provision in any proposed agreement or protective

order submitted for the Court’s consideration:
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             Any documents (including briefs), tangible things, or
             information designated as Confidential that are
             submitted to the Court in support of or in opposition to
             a motion or introduced at a hearing or during trial may
             retain their protected confidential status only by
             compliance with the Court’s Procedures for Electronic
             Filing Under Seal in Civil Cases.

For documents filed other than during a hearing or trial, as a general matter, this

Court will seal only those items enumerated in the Court's Standing Order 04-

02 regarding sensitive information and public access to electronic case files.

Absent extraordinary circumstances making prior consultation impractical or

inappropriate, the party seeking to file the documents shall first consult with the

counsel for the party who designated the document as confidential to determine if

some measure less restrictive than filing the document under seal may serve to

provide adequate protection.

      As further clarification, the Court notes that a mere reference or discussion

of confidential information does not warrant sealing of the entire document and

all attachments to be filed. Instead, the Court is only interested in sealing (or filing

in a redacted format) very specific portions of documents that contain or refer

to confidential information. The parties should refrain from sealing an entire

document when only certain information is confidential.

      In addition, the Court will normally not seal documents used in open court



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at a hearing or trial absent extraordinary circumstances.

     ii.     Procedure for Requesting the Court to Seal Information

      “It is the general policy of this Court not to allow the filing of documents

under seal without a Court order, even if all parties consent to the filing under

seal.” LR App H, Section II(J), NDGa. To request to file material under seal, in

addition to the following procedures, the Parties should follow the mechanism

described in Section II(J) of Appendix H to the Court’s Local Civil Rules. If a

document contains some discrete material that is deemed confidential and subject

to protection from public disclosure under Rule 26(c), the Parties will be entitled

to redact only those portions of the document deemed confidential. Parties shall

publicly file redacted copies of the documents as a separate filing

contemporaneously with the motion to seal without awaiting the Court’s ruling

on the motion to seal. The Court cautions that only in rare instances will it be

appropriate to seal an entire document from public access. In the rare instance

that sealing an entire document is necessary, Parties shall include a single page

indicating that the document is sealed and including the Bates numbers and/or

CM-ECF page numbers of the sealed document, if any.          Pleadings, motions, or

briefs which mention or reference a document containing confidential

information, without disclosing the nature or contents of the protected

information, shall not be sealed or filed in a redacted format.

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      Where it is necessary for the Parties to quote or disclose protected

confidential information in pleadings, motions, or briefs, the Parties shall

contemporaneously file redacted versions of their pleadings, motions, or briefs

without awaiting the Court’s ruling on the motion to seal.

      After filing one or more motions to seal, the Parties shall file a Joint Index of

Sealed Items for each sealed or provisionally sealed item filed in the case thus far

which lists the name of each document (or describes it generally if the name of the

document is confidential), the docket number of the sealed item, and the docket

number of the corresponding redacted item.

      Motions to seal which simply reference a confidentiality agreement or

protective order but do not attempt to satisfy the Rule 26(c) good cause standard

(or purport to do so in a conclusory way) will be denied, the documents for which

sealing was sought will be treated as withdrawn in accordance with Section

II(J)(2)(h) of Appendix H to the Court’s Local Civil Rules, and in such instances

the Court may deny the filer additional time to file an unsealed version of the

document notwithstanding Section II(J)(2)(h) of Appendix H. If a party disputes

a confidentiality designation, the party should bring the matter to the Court’s

attention using the Court’s discovery dispute resolution procedure during the

discovery period, rather than awaiting the filing of dispositive motions.

      The instructions above do not apply to parties appearing pro se. For pro se
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litigants, motions to seal must be manually filed with the Clerk of Court. In such

instances, the material subject to the request to seal should be attached as an

exhibit to the motion. The Clerk will enter the motion on the docket under a

provisional seal, without public viewing access.

g. Electronic Filing of Exhibits and Attachments

      The parties should make every effort to label all electronically uploaded

exhibits and attachments according to their content to assist the Court in making

its ruling. For example, the Court would prefer to have documents uploaded as

Ex. A: Smith Deposition, Ex. B: Employment Contract, and Ex. C: Jones Letter,

rather than simply Ex. A, Ex. B, and Ex. C.

h. Motions for Temporary Restraining Order or Preliminary Injunctive Relief

      The Court will not entertain granting a temporary restraining order or

preliminary injunctive relief absent a properly supported motion with attached

evidence pursuant to Fed. R. Civ. P. 65. See LR 7.1A(1), NDGa. If a party requests

such relief only in their complaint or other pleadings, but fails to file a separate

motion seeking the same, that request will not be considered until the merits of the

case are addressed. After filing an appropriate motion, the movant must contact

Ms. Shanks to request expedited consideration.

i. Motions for Summary Judgment

      All citations to the record evidence should be contained in each party’s brief,

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not just in the party’s statement of undisputed (or disputed) facts. If citing a

document that has previously been docketed, the party’s citation should include

the number of the docket entry where the document appears. Pinpoint citations

should provide the page number stamped by the Court’s electronic filing system

on the heading of the docketed document. For example: (Doc. 100 at 20).

      When filing a brief in support of, or in opposition to, a motion for summary

judgment, the party should include in the brief, immediately following the

deposition reference, a citation indicating the page and line numbers of the

transcript where the referenced testimony can be found. The party should also

include as an exhibit to the brief a copy of the specific pages of the deposition that

are referenced in the brief. The party should not attach to the brief a copy of the

entire deposition transcript.    The entire deposition transcript is to be filed

separately under a notice of filing original deposition transcript. The Court prefers

(but does not require) condensed copies of deposition transcripts (i.e., one physical

page containing four pages of transcribed testimony).          Neither the original

transcript nor any paper copies of the deposition should be filed with the Clerk or

delivered to Chambers. As noted above in section II(b), the parties are required

to submit courtesy paper copies of motions for summary judgments, including all

exhibits, to Chambers.



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j. Form of Statement of Material Facts & Response to Statement of Material
   Facts

      In addition to following the form instructions set out in Local Rule 56.1(B),

NDGa, a party responding to a statement of material facts shall copy into its

response document the numbered statement to which it is responding and provide

its response to that statement immediately following.       A party that chooses to

reply to a response shall copy into its reply document its original numbered

statement of material fact and the opposing party’s response, then provide its

reply to that statement immediately following. Each party shall file its documents

in a text-searchable PDF format. Statements of material fact that do not conform

to these instructions will be returned to counsel for revision.

k. Motions to Dismiss and Amended Complaints

      Without seeking leave of court, no party may file more than one motion to

dismiss, except in the case where a plaintiff has filed an amended complaint

(addressed below). If there are multiple defendants who are represented by the

same counsel, then said counsel may only file one motion to dismiss applicable to

any or all said defendants.

      If in response to a motion to dismiss, a plaintiff files an amended complaint

pursuant to Fed. R. Civ. P. 15(a)(1), the parties are directed to confer whether the




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motion to dismiss is rendered moot. If so, the defendant shall withdraw the

motion prior to filing any motion to dismiss the amended complaint.

      “Partial” motions to dismiss, that is, motions to dismiss fewer than all

counts of the complaint for failure to state a claim, are discouraged. Unless the

scope of discovery will be substantially narrowed by the Court’s ruling, parties

should answer the entire complaint and move for partial judgment on the

pleadings, so that discovery is not delayed pending the Court’s ruling. The Court

may deny without prejudice any motion which does not comply with this rule.

l. Page Limits

       Parties seeking an extension of the page limit must file such a motion at

least three (3) days in advance of the filing deadline and must explain the

circumstances necessitating additional pages. Parties should indicte whether the

opposing party consents to the request for additional pages. A proposed order

should be filed along with the motion via CM/ECF. If a party files a motion to

extend the page limit at the same time its brief is due, the extension request will be

denied absent a compelling and unanticipated reason.

       Objections to a magistrate judge’s or special master’s report and

recommendation, and any responses to those objections, shall be limited in length

to twenty-five (25) pages, absent prior permission from the Court.



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m. Requests for Oral Argument on Motions

      In accordance with Local Rule 7.1(E), motions are usually decided without

oral argument, but the Court will consider any request for hearing.          If oral

argument is requested, the party or parties should specify the particular reasons

argument may be helpful to the Court and what issues will be the focus of the

proposed argument. The Court will strongly consider granting oral argument in

any case where a lawyer with less than seven (7) years of experience will be chiefly

responsible for oral argument, or for a discrete issue of oral argument.

n. Courtroom Technology

      The courtroom has various electronic equipment for use by counsel at a

hearing or trial. For more information on the equipment, or to schedule an

opportunity    to   test   the   equipment,   please   contact   Ms.    Shanks    at

Velma_Shanks@gand.uscourts.gov or 404-215-1394. It is the parties’ responsibility

to make sure they know how to use the equipment available, to have the cables

necessary to hook up their equipment, and to ensure that their equipment will

interface with the Court’s technology.

      Any party or counsel without a blue attorney ID card issued through the

U.S. Marshals Service who would like to bring in the courthouse electronic

equipment, such as a laptop computer or cellphone with a camera, must file a

proposed order in the case allowing the same. The proposed order should identify

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the electronic equipment, specify the date(s) of the hearing or trial to which the

party or counsel desires to bring the equipment, and identify the courtroom to

which the equipment will be brought. This should be done not less than three (3)

business days prior to the hearing or trial, to allow for proper notification to the

U.S. Marshals Service.

IV.   TRIAL

a. Pretrial Conference

      The Court will normally conduct a final pretrial conference prior to trial.

The purpose of the conference is to simplify the issues to be tried and to rule on

evidentiary objections raised in the pretrial order. Parties should bring to the

conference a copy of the proposed pretrial order and attachments thereto, as well

as any outstanding motions.

      At the pretrial conference, the parties will be required to identify the specific

witnesses they will call in their case at trial. The Court may require the parties to

bring to the pretrial conference those exhibits they plan to introduce at trial and to

which there are objections, so that the Court may consider the objections thereto.

      Unless otherwise directed, all motions in limine shall be filed at least

fourteen (14) days before the pretrial conference. Briefs in opposition to motions

in limine should be filed at least one (1) week before the pretrial conference. The




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motions in limine and responses shall take the form of a consolidated pleading.

Ordinarily, the Court will decide motions in limine at the pretrial conference.

      The attorneys for all parties are further directed to meet together by

agreement, initiated by counsel for the plaintiff, no later than ten (10) days before

the date of the pretrial conference to:

             a. discuss settlement;
             b. stipulate to as many facts and issues as possible.

In accordance with Local Rule 26.2(C), Daubert motions must be filed no later than

the date the proposed pretrial order is submitted. Briefs in opposition must be filed

within fourteen (14) days following the Daubert motion, and reply briefs must be

filed seven (7) days thereafter.

b. Proposed Findings of Fact and Conclusions of Law

      When counsel is required to submit proposed findings of fact and

conclusions of law, see LR 16.4B(25), NDGa, in addition to electronically filing

same, counsel should provide an electronic copy, in Microsoft Word format, to Ms.

Shanks.

c. Exhibits and Witness Lists

      The parties shall separately number each of their exhibits as to which a

separate foundation must be laid. Exhibits should be numbered sequentially (e.g.,

P-1, P-2, etc.); do not use, e.g., P-1a, P-1b, etc. for a group of exhibits. Exhibits must


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be examined and marked before trial in compliance with LR 16.4, NDGa. On the

first day of trial, the parties should deliver to Ms. Shanks: (1) tabbed, indexed

three-ringed binders with the marked trial exhibits; and (2) copies of the marked

exhibits in electronic form (e.g., thumb drive or similar media or secure electronic

delivery method).

      In listing witnesses or exhibits, a party may not reserve the right to

supplement his list. Nor should a party adopt another party’s list by reference.

d. Voir Dire

   The parties should file their proposed voir dire questions at least seven (7) days

before the final pretrial conference for approval by the Court. After the Court asks

certain qualifying questions, the Court will then permit the attorneys to ask the

voir dire questions it has approved. In general, eight jurors, none of whom will

serve as alternate, will be selected to deliberate for cases expected to last one week

or less. The panel from which the 8 jurors will be selected wll normally consist of

18-20 prospective jurors. If counsel anticipate the need for a larger panel, counsel

should alert Ms. Shanks promptly upon calendaring of the case for trial. The Court

may empanel additional jurors for cases expected to last more than one week.

e. Jury Charges

      Unless otherwise directed by the Court, the parties must file, and email to

Ms. Shanks in Microsoft Word format, their proposed jury charges and verdict

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forms by 9:00 a.m. on the last business day before the first day of trial. Counsel

must use the latest edition of the Eleventh Circuit’s Pattern Jury Instructions, if

applicable. If there is no appropriate Eleventh Circuit charge, counsel should use

instructions from the latest edition of O’Malley’s Federal Jury Practice and

Instructions. Any requested differences from the Pattern Jury Instructions should

be clearly identified. If state law applies, counsel shall present the appropriate

pattern instruction from the applicable state. Counsel should be sure to include

all substantive law issues and should not assume that the Court has its own charge

on the substantive law. Ordinarily, the Court will charge the jury before closing

arguments.

      IT IS SO ORDERED this 20th       April
                            ___ day of _______, 2022.




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                                                  ___________
                                 _________________________________
                                     ctoria M. Calvert, United
                                 Victoria               Unite States District Judge




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